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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH DAKOTA
                                SOUTHERN DIVISION

                   Karen E. Schreier United States District Judge Presiding

Courtroom Deputy - SLW                                 Court Reporter – Jill Connelly
Courtroom - SF #2                                      Date – March 5, 2018
U.S. Probation Officer – Shelly Schenkle

                                       4:17-CR-40063-01

United States of America                                       Jennifer Mammenga

                  Plaintiff,

                     vs.

George Kenneth Cardwell                                           Jason Tupman


                 Defendant.


TIME HEARING SCHEDULED TO BEGIN: 10:00 a.m.

TIME:
10:00 a.m.    Enter uncontested sentencing before the Hon. Karen E. Schreier, United
              States District Judge, Sioux Falls, SD. Counsel state their appearances for the
              record. Defendant is also present in Court.

              The Court confirms that defense counsel has had the opportunity to review the
              PSR with their client.

              The Court confirms there are no objections.

              Counsel agree to the applicable Total Offense Level, Criminal History Category,
              and Advisory Guideline Ranges.

              The Court notes the documents reviewed prior to sentencing.

              Counsel for the Defendant addresses the Court before sentencing.
              Defendant addresses the Court.
              Counsel for the USA addresses the Court before sentencing.

              The Court states the sentence to be imposed and states the reasons therefore: 120
              months imprisonment; 5 years supervised release; $100 special assessment.
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             Neither counsel sees any reason why the sentence cannot be imposed as stated.

             Defendant notified of appeal rights and understands these rights.

10:15 a.m.   Court in recess.
